                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MISSOURI
                               SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,                    )
                Plaintiff,                   )
                                             )
       vs.                                   )      Case No. 16-3029-CR-S-MDH
                                             )
CAROLYN COBB,                                )
                      Defendant.             )

        MOTION FOR EXTENSION OF TIME TO FILE OBJECTIONS TO THE
                 PRESENTENCE INVESTIGATION REPORT

       Comes Now, Defendant Carolyn Cobb, through Counsel Ryan D. Reynolds, and moves

this Honorable Court for an Extension of Time to File Objections to the Presentence

Investigation Report from today, November 21, 2017, to November 28, 2017. Defendant offers

the following suggestions in support:

   1. Counsel has reviewed the PSI with the defendant and she has several objections.

   2. This case has significant and complex issues which require research and investigation

       into the US Sentencing Guidelines and the facts of the case.

   3. Counsel is aware of all objections defendant intends to make, but is unable to complete

       them by the deadline, today, November 21, 2017.

   4. Counsel will have the objections filed by November 28, 2017.




   WHEREFORE, Defendant requests this Honorable Court grant this motion for extension of

time to file objections to the presentence investigation report to November 28, 2017, and for any

other relief deemed just and proper.




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                                             Respectfully submitted:

                                             /s/ Ryan D. Reynolds
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                                      Certificate of Service

        I hereby certify that a copy of the foregoing document was electronically filed with the
Clerk of the Court on November 21, 2017 by using the CM/ECF system, which will send a
notice of electronic filing to all Counsel of Record.


                                             s/ Ryan D. Reynolds




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